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FILED
IN OPEN COURT

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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

CLERK, U.S. DISTRICT COURT
ALEXANDRIA, VIRGHSA

Alexandria Division

UNITED STATES OF AMERICA
Vv. Criminal No. 1:23-CR-10 (LMB)
FRANCIS FORD,
Defendant.
STATEMENT OF FACTS

The United States and the defendant, FRANCIS FORD (hereinafter, “FORD”), agree that
at trial, the United States would have proven the following facts beyond a reasonable doubt with
admissible and credible evidence:

1. In and around February 2021, in the Eastern District of Virginia and elsewhere,
FORD knowingly and unlawfully conspired and agreed with Jon Fleet (“Fleet”) to obstruct, delay,
and affect commerce by robbery. During and in furtherance of this conspiracy, FORD and Fleet
committed several armed robberies of commercial establishments in the Eastern District of
Virginia and elsewhere.

2. On February 21, 2021, Fleet drove with FORD to a Subway restaurant located at
10428 Campus Way South, in Largo, Maryland, for the purpose of robbing the Subway restaurant.
Fleet entered the Subway restaurant while FORD waited in the vehicle. During this robbery, Fleet
brandished a firearm. After demanding money from the restaurant employees, Fleet took
approximately $500 in U.S. currency belonging to the restaurant. Fleet then fled the restaurant

and FORD and Fleet drove together from the scene of the crime.
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3. On February 23, 2021, FORD and Fleet walked into the Papa John’s restaurant
located at 5860 Columbia Pike, in Falls Church, Virginia, within the Eastern District of Virginia,
for the purpose of robbing the Papa John’s restaurant. Fleet approached an employee, brandished
a firearm, and demanded that the cash register be opened. FORD made employees believe that he
was carrying a firearm by keeping his hand on his waistband as though a firearm was in there.
Fleet walked around the counter and tried unsuccessfully to open the cash register for several
seconds. Fleet then had an employee walk him and FORD to the back of the restaurant, where the
employee produced a bag containing cash. Fleet took the bag, which contained approximately
$187 in U.S. currency, which he shared with FORD. FORD and Fleet fled the store by foot.

4. On March 7, 2021, FORD and Fleet drove to the vicinity of the Marathon gas
station located at 8405 Westphalia Road, in Upper Marlboro, Maryland. FORD walked into the
gas station, brandished a sawed-off shotgun, and demanded that the store clerk produce cash from
the register. The store clerk refused to give FORD any money and called the police. FORD fled
the gas station and returned to the vehicle, where Fleet was waiting for him.

5. On March 14, 2021, Fleet crashed and then abandoned his vehicle in Prince
George’s County, Maryland. The vehicle was a 2007 blue Chevrolet Malibu Maxx bearing
Maryland temporary registration TO272421. FORD and Fleet had used this vehicle to flee the
area of the Subway restaurant, Papa John’s restaurant, and Marathon gas station following the
robberies and attempted robbery of those establishments.

6. At the scene of the car crash, law enforcement officers recovered a sawed-off
Harrington and Richardson, model Topper M-48, 16 gauge caliber, single-shot short-barreled
shotgun bearing serial number H-79060. FORD used this firearm in connection with the attempted

armed robbery of the Marathon gas station, which is described herein.
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7. The commercial establishments identified above that FORD and Fleet robbed or
attempted to rob sold merchandise shipped in interstate commerce and to customers from different
states. The businesses were forced to stop operating during the robberies and the subsequent
investigations. Thus, each business was engaged in commercial activity and each robbery affected
interstate commerce. In addition, by using and brandishing a firearm during each robbery
described above, FORD and Fleet obtained property from employees of the commercial
establishments against their will by means of actual or threatened force, violence, and fear of
immediate and future injury to their persons while they engaged in commercial activities as
employees of those commercial establishments. For each robbery described above that involved
Fleet brandishing a firearm during the robbery, FORD knew before the robbery that Fleet would
use, carry, or brandish a firearm during and in relation to the robbery.

8. The actions of the defendant, as recounted above, were in all respects knowing and
deliberate, and were not committed by mistake, accident, or other innocent reason.

9. This Statement of Facts includes those facts necessary to support the plea
agreement between the defendant and the United States. It does not include each and every fact
known to the defendant or to the United States, and it is not intended to be a full enumeration of
all of the facts surrounding the defendant’s case.

Respectfully submitted,

Jessica D. Aber
United States Attorney

Date: January 17, 2023 By: —

Cristina C. Stam
Bibeane Metsch
Assistant United States Attorneys

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After consulting with my attorney and pursuant to the plea agreement entered into this day
between the defendant, FRANCIS FORD, and the United States, I hereby stipulate that the above
Statement of Facts is true and accurate, and that had the matter proceeded to trial, the United States

would have proved the same beyond a reasonable doubt.

NCIS FORD

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Iam Ryan Campbell, defendant’s attorney. I have carefully reviewed the above Statement
of Facts with him. To my knowledge, his decision to stipulate to these facts is an informed and
voluntary one.

QegLA

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Ryne for FRANCIS FORD

